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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF MISSOURI
                                        EASTERN DIVISION

WENDY LYN MCCOY,                                   )
                                                   )
         Plaintiff,                                )
                                                   )
v.                                                 )
                                                   )        Case No. 4:21-cv-00384-SEP
WALGREEN PHARMACY                                  )
SERVICES MIDWEST, LLC,                             )
& WALGREEN CO.,                                    )
                                                   )
         Defendants.                               )
                                                   )
                                                   )

                         STIPULATION OF DISMISSAL WITH PREJUDICE

         COME NOW Plaintiff and Defendants, by and through their respective attorneys of record, and

hereby stipulate that all claims in this matter are dismissed with prejudice, with each Party to bear their own

costs and attorney’s fees.

Dated: December 29, 2021

 Respectfully submitted,

 /s/ Douglas Ponder_________________                   /s/ Travis Niswonger (with permission)____
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